            Case 2:12-cr-00198-MCE Document 544 Filed 07/17/15 Page 1 of 2

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 5
     Attorney for Defendant
 6   STEVEN ORTEGA, JR.
 7

 8                                  UNITED STATES DISTRICT COURT
 9                                 EASTERN DISTRICT OF CALIFORNIA
10
      UNITED STATES OF AMERICA,                        Case No. 2:12-CR-00198-MCE
11

12                   Plaintiff,                        WAIVER OF DEFENDANT’S
                                                       PERSONAL APPEARANCE
13
      vs.
14
      STEVEN ORTEGA, JR., et al.,
15
                     Defendants.
16

17
             Defendant STEVEN ORTEGA, JR., hereby waives the right to be present in person in open
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     court upon the hearing of any motion or other proceeding in this case, including when the case is set
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     for trial, when a continuance is ordered, when time is excluded under the Speedy Trial Act, when a
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     detention hearing is held, and when any other action is taken by the Court before or after trial, except
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     upon arraignment, plea, empanelment of jury and imposition of sentence.
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                        Waiver of Appearance – Steven Ortega, Jr., Case No. 2:12-CR-00198-MCE
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           Case 2:12-cr-00198-MCE Document 544 Filed 07/17/15 Page 2 of 2

 1          Defendant hereby requests the Court to proceed during every absence of his which the Court
 2   may permit pursuant to this waiver; agrees that his interests will be deemed represented at all time by
 3   the presence of his attorney, the same as if defendant were personally present; and further agrees to
 4   be present in person in court ready for trial on any day which the Court may fix in his absence.
 5

 6   Dated: April 17, 2015                                          /s/ Steven Ortega, Jr.
                                                                    STEVEN ORTEGA, JR.
 7

 8
     APPROVED:
 9
     /s/ Randy Sue Pollock
10   RANDY SUE POLLOCK
     Counsel for Defendant STEVEN ORTEGA, JR.
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            IT IS SO ORDERED.
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     Dated: July 17, 2015
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                        Waiver of Appearance – Steven Ortega, Jr., Case No. 2:12-CR-00198-MCE
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